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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION



UNITED STATES OF AMERICA,

       Plaintiff,
                                                         Case No. 05-80955
-vs-                                                     HON AVERN COHN

GWENDOLYN DESHAWN BROWEN,

       Defendant.

                                           /


                                          ORDER

       This is a criminal case. On August 3, 2007, defendant pled guilty to conspiracy

to launder monetary instruments. Defendant did not file a direct appeal. Defendant is

currently serving the 70 month sentence imposed on her on September 22, 2008.

Defendant has filed a petition styled

               Browen Files For A Writ Of Coram Nobis And/Or Audita
               Querela Under Section 1651, Of Title 28 United States
               Code, “The All Writ Act”

       Defendant says “the indictment fails to state an offense, and renders the

conviction in this matter unconstitutional.” Defendant is wrong; the petition is DENIED.

       As pointed out by the government, coram nobis relief is available only to a

petitioner who is no longer in custody. Because defendant is still in custody serving her

sentence, she is not entitled to this relief. Moreover, Count Ten of the indictment, to

which petitioner pled guilty, tracks the statutory language. This is sufficient to state an


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offense. United States v. Santos, 128 S. Ct. 2020 (2008), on which defendant relies,

does not deal with the sufficiency of an indictment and therefore is not a basis for relief.

       SO ORDERED.



                                           s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE


Dated: September 3, 2009


I hereby certify that a copy of the foregoing document was mailed to the attorneys of
record and Gwendolyn Deshawn Browen, #40615-039, P.O. Box 1731, Waseca, MN
56093 on this date, September 3, 2009, by electronic and/or ordinary mail.


                                           s/LaShawn R. Saulsberry
                                          Case Manager, (313) 234-5160




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